CHARLES J. MURPHY, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Murphy v. CommissionerDocket No. 13758.United States Board of Tax Appeals12 B.T.A. 144; 1928 BTA LEXIS 3600; May 25, 1928, Promulgated *3600  The disallowance of the 25 per cent credit claimed by the petitioner under Title XII of the Revenue Act of 1924, approved.  Charles Colip,5 B.T.A. 123"&gt;5 B.T.A. 123. John Enrietto, Esq., and Harry B. Sutter, Esq., for the petitioner.  T. M. Mather, Esq., for the respondent.  MORRIS*144  This proceeding is for the redetermination of a deficiency in income tax of $483.90 for the calendar year 1924.  The sole question for consideration is whether the respondent erred in refusing to apply the 25 per cent credit provided for under Title XII of the Revenue Act of 1924 to the tax on that portion of petitioner's partnership income taxable at 1923 rates.  FINDINGS OF FACT.  The petitioner is an individual, residing in Chicago, Ill., who, during the period June 30, 1923, to June 30, 1924, was a member of two partnerships, viz, B &amp; O Restaurant and, Rest Houses, and the Erie Commissary Department, both of which are located in the City of Chicago.  The petitioner's distributive portion of the net income of those partnerships for the period June 30, 1923, to June 30, 1924, was $24,902.93, of which amount $12,451.47 was attributable to and taxable*3601  at rates prevailing in 1923 and $12,451.46 was attributable to and taxable at rates prevailing in 1924.  The above-mentioned partnerships filed informatory returns on Form 1065-A for the year ended June 30, 1924, and the petitioner filed his return for the calendar year 1924 on the cash receipts and disbursements basis on Form 1040-FY.  The petitioner claimed a credit in his return of $483.90, representing 25 per cent of the tax computed at the rates prevailing in 1923.  The tax computed at 1923 rates amounted to $1,935.59 and the partnership income, upon which said tax was computed, was $12,451.47.  The credit was disallowed by the respondent for the reason that the reduction of 25 per cent in 1923 income tax provided for by section 1200 of the Revenue Act of 1924 is not applicable to that portion of income taxable at 1923 rates reported in a return for the calendar year 1924.  OPINION.  MORRIS: We have this day promulgated our decision in the appeal of , heard and considered *145  jointly with the instant case, and in view of our decision therein, based upon the same facts (except as to amounts) and circumstances, it is*3602  unnecessary for us to do more than sustain the findings of the respondent.  Judgment will be entered for the respondent.